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                                       February 18, 2022

VIA CM/ECF
The Honorable Richard G. Andrews
United States District Court
844 North King Street
Wilmington, DE 19801

      Re:     Samsung Electronics Co., Ltd. et al. v. Netlist, Inc., C.A. No. 21-1453-RGA


Dear Judge Andrews:

        Pursuant to D. Del. L.R. 7.1.4, Netlist, Inc. respectfully requests oral argument on
Netlist’s Motion to Dismiss Plaintiffs’ First Amended Complaint (D.I. 24) and Plaintiffs’ Motion
for Leave to File Second Amended Complaint filed by Plaintiffs Samsung Electronics Co., Ltd.
and Samsung Semiconductor, Inc. (D.I. 18). Briefing is complete as to D.I. 18, but is not yet
complete as to D.I. 24.

                                            Respectfully,

                                            /s/ Karen E. Keller

                                            Karen E. Keller (No. 4489)


cc:    Clerk of the Court (by CM/ECF)
       All counsel of record (by CM/ECF and email)
